[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
Defendant Century-New Haven Limited Partnership and Aetna Casualty  Surety Company filed their Motion for Summary Judgment as to Count Two. Said motion should be granted.
Plaintiffs filed a mechanic's lien to secure payment for insurance premiums "rendered in the improvement of . . . real property owned by [Century — New Haven]." Pursuant to the allegations of the second count of the complaint, plaintiff claims "foreclosure on the bond in substitution of mechanic's lien."
Under the mechanic's lien statute "materials" and "services" do not include insurance premiums. As a matter of law unpaid insurance premiums cannot be secured by a mechanic's lien on a plot of land. Nickel Mine Brook Associates v. Joseph E. Sakal, P.C., 217 Conn. 361.
Said motion for summary judgment is granted as to the second count.
Ronald J. Fracasse, Judge